Case 1:10-cr-00317-REB Document 735-14 Filed 01/17/14 USDC Colorado Page 1 of 3

NOTICE OF AND RESCISSION OF MOTION FOR ENLARGEMENT OF TIME
DUE TO NON RECEIPT OF ALL DISCOVERY AND NON RECEIPT OF ALL
GRAND JURY TRANSCRIPTS IN PRINTED FORMAT FOR CAUSE
NOTICE DATE: Day Fourteen Month One Year 2014 C.E.

Clerk of the Court

United States District Court
901 19th Street, Room A-105
Denver, Colorado 80294~3589

In reply to: "Case 1:10-cr-00317-REB Document 208 Filed 04/26/11 USDC Colorado Page 1 of 2
Criminal Action No. 10-cr-00317-REB MOTION FOR ENLARGEMENT OF TIME DUE TO NON RECEIPT OF
ALL DISCOVERY AND NON RECEIPT OF ALL GRAND JURY TRANSCRIPTS IN PRINTED FORMAT, Dated this
22nd Day of April,2011 Richard Kellogg Armstrong, Page 2 of 2"

PLEASE TAKE NOTICE that I, Richard Kellogg Armstrong, sentient moral being rescind my
signature Richard Kellogg Armstrong and the original "Case 1:10-cr-00317-REB Document
208 Filed 04/26/11 USDC Colorado Page 1 of 2 Criminal Action No. 10~cr-00317-REB MOTION
FOR ENLARGEMENT OF TIME DUE TO NON RECEIPT OF ALL DISCOVERY AND NON RECEIPT OF ALL GRAND
JURY TRANSCRIPTS IN PRINTED FORMAT, Dated this 22nd Day of April,2011 Richard Kellogg
Armstrong, Page 2 of 2" including every copy bearing my signature and date, for cause.

I made a mistake creating, signing and presenting the MOTION FOR ENLARGEMENT OF TIME DUE
TO NON RECEIPT OF ALL DISCOVERY AND NON RECEIPT OF ALL GRAND JURY TRANSCRIPTS IN PRINTED
FORMAT. I repent of my sin.

I willingly, knowingly, voluntarily, intentionally and intelligently perform this act and
deed.

Linyy son, if you become surety for your friend, if you have shaken hands in a pledge for a stranger", 2"You
are snared by the words of you mouth; you are taken by the words of your mouth." 3"So do this, my son, and
geliver yourself; for you have come into the hand of your friend; go humble yourself; plead with your friend."

"Give no sleep to your eyes, nor slumber to your eyelids." -"Deliver yourself like a gazelle from the hand of
the hunter, and like a bird from the hand of the fowler."

I RESERVE ALL OF MY RIGHTS WITH EXPLICIT RESERVATION AND WITHOUT PREJUDICE.

FILED

TES DISTRICT COURT Sincerely
Me ENVER, COLORADO Ly hf) VA Less } .
JAN 17 2014 Richard Kellogg Armstrong 7
c/o 20413-298
JEFFREY P. COLWELL Federal Correctional
CLERK Institution - Lompoc

3600 Guard Road
ares — Lompoc, California
Footnotes: lproverbs 6:1, *Proverbs 6:2, 3Proverbs 6:3, 4proverbs 6:4, “Proverbs 6:5
Attachment: "supra"

cc: UNITED STATES DISTRICT COURT 901 19th Street Denver, Colorado 80294
ce: Honorable Robert Blackburn, Judge, United States District Court 901 19th Street Denver, Colorado 80294

Page 1 of 2
Case 1:10-cr-00317-REB Document 735-14 Filed 01/17/14 USDC Colorado Page 2 of 3

Case 1:10-cr-00317-REB Document 208 Filed 04/26/11 USDC Colorado Page 1 of 2

TRULINCS 20413298 - ARMSTRONG, RICHARD KELLOGG - Unit: ENG-J-A

    

 

 

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FROM: 20413298 - OE
TO: Armstrong, Sharon 2011 Ai R26 Ar] 9: 19
SUBJECT: Extension of time 4/22 GREG 7
DATE: 4/22/3011 12:30:40 PM SS NSA
S DISTRICT COURT By
FOR THE DISTRICT OF COLO BR g
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GEMENT OF TIME DUE TO NON RECEIPT OF ALL DISReRREY AND NON RECEIPT OF ALL GRAND JURY TRANSCRIPTS
IN PRINTED FORMA :
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oN
COMES N ard Kellogg, Armstrong, Sui Juris, being a native borh American, non-U.S. citizen-subject, gg i Notice and
Demand fOngnia ent of time due to non receipt of all discoyery andyon receipt of all Grand Jury transcripts t e in printed
format affecting insufficient time to prepare pretrial motions with as: e of counsel. Y\
| would as ‘ourt to extend additional time to respond for distovery so that | can present additional evidgnce in the
record to pro lefend myself. x

N
I have wai Nagpe right to a speedy trial that is in the record. «
{ tere this additional ninety (90) days that will be nec ry for me, under incarceration, to so egret

records to prepa¥e for my defense.

 

The additi ime would not prejudice the Plaintiff's claim i ant .

Dated this 22nd'DayMof April, 2011 Me
Respectfully, \
Case 1:10-cr-00317-REB Document 735-14 Filed 01/17/14 USDC Colorado Page 3 of 3

 

 

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